           Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 1 of 15




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW PERRONG,
                                                       NO.
                       Plaintiff,
                                                       COMPLAINT—CLASS ACTION
       v.
                                                       DEMAND FOR JURY TRIAL
MACY’S INC., DEPARTMENT STORES
NATIONAL BANK, FDS BANK and
MACY’S CREDIT AND CUSTOMER
SERVICES, INC.,


                       Defendants.



       COMES NOW Plaintiff Andrew Perrong, by his undersigned counsel, for this class
action complaint against Defendants Macy’s Inc., Department Stores National Bank, FDS Bank
and Macy’s Credit and Customer Services, Inc. and their present, former and future direct and
indirect parent companies, subsidiaries, affiliates and agents (collectively, “Macy’s”), alleging as
follows:

                                      I.     INTRODUCTION
       1.      Nature of Action: Macy’s made 30 nonconsensual, nonemergency collections calls
with prerecorded or artificial voices to a phone number for which Mr. Perrong was charged for
incoming calls, in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227
(“TCPA”). The telephone calls transmitted a prerecorded voice insisting that Plaintiff contact
Macy’s about a “personal business matter,” although Plaintiff had no outstanding business
matters with Macy’s, personal or otherwise. Despite Plaintiff’s hanging up and telling Macy’s
that he was not the person it was looking for, Macy’s continued its relentless barrage of calls.
       2.      Mr. Perrong brings this action on behalf of himself and all those similarly situated,
in hopes that an injunction and damages will encourage Macy’s to stop robocalling or at least
check whether it is robocalling the right person.


                                             -1-
                                           Complaint
           Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 2 of 15




                                           II.    PARTIES
          3.    Plaintiff Andrew Perrong is a citizen of Pennsylvania, residing in this District.

          4.    Defendant Macy’s Inc. is a Delaware corporation with its principal place of
business at 7 West Seventh Street, Cincinnati, Ohio 45202.
          5.    Macy’s Inc. operates department stores in and does business in this District and
throughout the United States.
          6.    Defendant Department Stores National Bank is a national banking association and
the issuer of Macy’s credit cards. Its principal place of business is at 701 East 60th Street, Sioux
Falls, South Dakota 57104.
          7.    Department Stores National Bank solicits, advertises to and provides credit cards
and financing to consumers residing in Pennsylvania and throughout the United States.
          8.    Defendant FDS Bank is a federal savings bank issuing consumer credit cards,
owned by Macy’s Inc., run by Macy’s Inc. employees, engaged in the servicing of Macy Inc.’s
credit cards. Its principal place of business is at 9111 Duke Boulevard, Mason, Ohio 45040.
          9.    FDS Bank services credit cards used in this District and throughout the United
States.
          10.   Macy’s Credit and Customer Services, Inc. is a corporation owned by Macy’s Inc.
that markets and collects upon Macy’s-branded credit cards. Its principal place of business is at

9111 Duke Boulevard, Mason, Ohio 45040.
          11.   Macy’s Credit and Customer Services, Inc. markets and collects upon credit cards
in this District and throughout the United States.
          12.   Upon information and belief, each of the acts and/or omissions complained of
herein was made known to, and ratified by, each defendant.

                              III.    JURISDICTION AND VENUE
          13.   Subject Matter Jurisdiction: This Court has federal-question subject matter
jurisdiction pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. Mims v. Arrow
Fin. Servs., LLC, 565 U.S. 368, 372 (2012).


                                            -2-
                                          Complaint
         Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 3 of 15




        14.     Personal Jurisdiction: This Court has both general and specific personal
jurisdiction over Macy’s.

                a.      It has general jurisdiction over Macy’s because Macy’s operates 25
department stores in Pennsylvania, employing, on information and belief, thousands of
Pennsylvanians and selling to tens of thousands of Pennsylvanians.
                b.      It has specific jurisdiction over Macy’s because Macy’s placed the calls at
issue to Mr. Perrong, a Pennsylvanian, at a phone number bearing a Pennsylvania area code,
registered to a Pennsylvania address, while (in most instances) he was in Pennsylvania.
        15.     Venue: Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2)
because a substantial part of the events giving rise to the claims occurred in this District and
because Defendant resides in, i.e., is subject to personal jurisdiction in, this District.

 IV.     THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. § 227
        16.     The TCPA makes it unlawful “to make any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using an
automatic telephone dialing system or an artificial or prerecorded voice … to any telephone
number assigned to a … cellular telephone service ... or any service for which the called party is
charged for the call.” 47 U.S.C. § 227(b)(1)(A).
        17.     The TCPA makes it unlawful “to initiate any telephone call to any residential

telephone line using an artificial or prerecorded voice to deliver a message without the prior
express consent of the called party, unless the call is initiated for emergency purposes, is made
solely pursuant to the collection of a debt owed to or guaranteed by the United States, or is
exempted by rule or order” of the Federal Communication Commission (“FCC”). 47 U.S.C. §
227(b)(1)(B).
        18.     The FCC has ruled that the duty to obtain consent falls squarely on the shoulders
of the robocaller. “We reiterate that the TCPA places no affirmative obligation on a called party
to opt out of calls to which he or she never consented; the TCPA places responsibility on the




                                            -3-
                                          Complaint
           Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 4 of 15




caller alone to ensure that he or she has valid consent for each call made using an autodialer,
artificial voice, or prerecorded voice.” In re Rules & Regulations Implementing the TCP Act of

1991, 30 FCC Rcd. 7961, 8004 ¶ 81 (2015).
         19.   The TCPA provides a private cause of action to persons who receive calls in
violation of § 227(b). 47 U.S.C. § 227(b)(3).
         20.   In enacting the TCPA, Congress found: “Evidence compiled by the Congress
indicates that residential telephone subscribers consider automated or prerecorded telephone
calls, regardless of the content or the initiator of the message, to be a nuisance and an invasion of
privacy.” Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394 §
2(10).
         21.   Congress further found: “Banning such automated or prerecorded telephone calls
to the home, except when the receiving party consents to receiving the call or when such calls are
necessary in an emergency situation affecting the health and safety of the consumer, is the only
effective means of protecting telephone consumers from this nuisance and privacy invasion.” Id.
§ 2(12).
         22.   The TCPA’s sponsor described unwanted robocalls as “the scourge of modern
civilization. They wake us up in the morning; they interrupt our dinner at night; they force the
sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.” 137
Cong. Rec. 30,821 (1991) (statement of Sen. Hollings).
         23.   According to findings of the FCC, the agency vested by Congress with authority to
issue regulations implementing the TCPA, automated or prerecorded telephone calls are a greater
nuisance and invasion of privacy than live solicitation calls and can be costly and inconvenient.
         24.   As a remedial statute that was passed to protect consumers from unwanted
automated telephone calls, the TCPA is construed broadly to benefit consumers. Gager v. Dell
Fin. Servs., LLC, 727 F.3d 265, 271 (3d Cir. 2013).
         25.   Since the enactment of the TCPA, the problem of unwelcome robocalls has gotten
even worse. The FCC bemoans: “Unwanted calls, including robocalls and texts, are consistently


                                           -4-
                                         Complaint
          Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 5 of 15




among the top problems consumers cite when filing complaints with the FCC each year.” Stop
Unwanted Calls and Texts, Federal Communications Commission,

https://www.fcc.gov/consumers/guides/stop-unwanted-calls-and-texts (last visited Feb. 17,
2018).
         26.   Over two billion robocalls are made every month, many of which are unwanted
and illegal. 2.7 billion robocalls were placed nationwide last month—an average of more than
one robocall every week per person affected. Robocall Index, YouMail,
https://robocallindex.com/ (last visited Mar. 14, 2018).

                                V.    FACTUAL ALLEGATIONS
A.       Mr. Perrong

         27.   Mr. Perrong owns the phone number (215) 757-0689. All calls to Mr. Perrong
alleged herein were to that number, while he owned it.
         28.   The number has been on the National Do Not Call Registry since 2003.
         29.   Mr. Perrong is charged at a rate of $0.009 per minute for incoming calls.
         30.   Mr. Perrong never consented to be called by Macy’s.
         31.   Mr. Perrong doesn’t own and never did own a Macy’s credit card.
         32.   Mr. Perrong doesn’t owe and has never owed money to Macy’s.
B.       Macy’s

         33.   Macy’s is a department store chain that issues private label credit cards.
         34.   Macy’s places calls with prerecorded voices to collect debts incurred by its
cardholders.
         35.   Macy’s calls to Mr. Perrong bore the caller ID (877) 268-6095. This number has
been the subject of over twenty online complaints on online forums, and the subject of a number
of FTC Do-Not-Call complaints.




                                           -5-
                                         Complaint
           Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 6 of 15



C.     Macy’s’s Illegal, Nonconsensual, Nonemergency, Prerecorded Robocalls to Mr.
       Perrong

       36.     The First Illegal, Nonconsensual, Prerecorded Robocall: On December 4, 2017,

Macy’s placed a prerecorded robocall to Mr. Perrong without his prior express consent.
       37.     The Second Illegal, Nonconsensual, Prerecorded Robocall: On December 4, 2017,
Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       38.     The Third Illegal, Nonconsensual, Prerecorded Robocall: On December 4, 2017,
Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       39.     The Fourth Illegal, Nonconsensual, Prerecorded Robocall: On December 5, 2017,
Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       40.     The Fifth Illegal, Nonconsensual, Prerecorded Robocall: On December 5, 2017,
Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       41.     The Sixth Illegal, Nonconsensual, Prerecorded Robocall: On December 5, 2017,
Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       42.     The Seventh Illegal, Nonconsensual, Prerecorded Robocall: On December 6, 2017,
Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       43.     The Eighth Illegal, Nonconsensual, Prerecorded Robocall: On December 6, 2017,
Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.




                                         -6-
                                       Complaint
           Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 7 of 15




       44.     The Ninth Illegal, Nonconsensual, Prerecorded Robocall: On December 6, 2017,
Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express

consent.
       45.     The Tenth Illegal, Nonconsensual, Prerecorded Robocall: On December 7, 2017,
Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       46.     The Eleventh Illegal, Nonconsensual, Prerecorded Robocall: On December 7,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       47.     The Twelfth Illegal, Nonconsensual, Prerecorded Robocall: On December 7, 2017,
Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       48.     The Thirteenth Illegal, Nonconsensual, Prerecorded Robocall: On December 8,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       49.     The Fourteenth Illegal, Nonconsensual, Prerecorded Robocall: On December 8,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       50.     The Fifteenth Illegal, Nonconsensual, Prerecorded Robocall: On December 8,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       51.     The Sixteenth Illegal, Nonconsensual, Prerecorded Robocall: On December 9,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       52.     The Seventeenth Illegal, Nonconsensual, Prerecorded Robocall: On December 9,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.


                                         -7-
                                       Complaint
           Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 8 of 15




       53.     The Eighteenth Illegal, Nonconsensual, Prerecorded Robocall: On December 9,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express

consent.
       54.     The Nineteenth Illegal, Nonconsensual, Prerecorded Robocall: On December 10,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       55.     The Twentieth Illegal, Nonconsensual, Prerecorded Robocall: On December 10,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       56.     The Twenty-First Illegal, Nonconsensual, Prerecorded Robocall: On December 10,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       57.     The Twenty-Second Illegal, Nonconsensual, Prerecorded Robocall: On December
11, 2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior
express consent.
       58.     The Twenty-Third Illegal, Nonconsensual, Prerecorded Robocall: On December
11, 2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior
express consent.
       59.     The Twenty-Fourth Illegal, Nonconsensual, Prerecorded Robocall: On December
11, 2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior
express consent.
       60.     The Twenty-Fifth Illegal, Nonconsensual, Prerecorded Robocall: On December 12,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
       61.     The Twenty-Sixth Illegal, Nonconsensual, Prerecorded Robocall: On December
12, 2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior
express consent.


                                         -8-
                                       Complaint
           Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 9 of 15




        62.     The Twenty-Seventy Illegal, Nonconsensual, Prerecorded Robocall: On December
12, 2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior

express consent.
        63.     The Twenty-Eighth Illegal, Nonconsensual, Prerecorded Robocall: On December
13, 2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior
express consent.
        64.     The Twenty-Ninth Illegal, Nonconsensual, Prerecorded Robocall: On December
13, 2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior
express consent.
        65.     The Thirtieth Illegal, Nonconsensual, Prerecorded Robocall: On December 13,
2017, Macy’s placed yet another a prerecorded robocall to Mr. Perrong without his prior express
consent.
        66.     During several of the calls, Mr. Perrong stated that he was not the person Macy’s
claimed to be trying to reach.
        67.     During several of the calls, Mr. Perrong asked Macy’s to stop calling him, but it
kept calling.
        68.     Macy’s repeatedly engaged Mr. Perrong and his telephone, three times a day, in an
effort to annoy, abuse, and/or harass Mr. Perrong at the called number.
        69.     The calls were annoying.
        70.     The calls were harassing.
        71.     The calls were a nuisance.

                            VI.    CLASS ACTION ALLEGATIONS
        72.     Class Definition: Pursuant to Federal Rules of Civil Procedure 23(b)(2) and (b)(3),
Mr. Perrong brings this case on behalf of a class (the “Class”) defined as follows: All persons to
whom:




                                              -9-
                                            Complaint
        Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 10 of 15




               a.       Macy’s and/or a third party acting on its behalf made one or more non-
emergency telephone calls;

               b.       at a cellular telephone number or number for which the called party is
charged for the call;
               c.       using an artificial or prerecorded voice;
               d.       purporting or attempting to collect a debt;
               e.       which called parties had never had a Macy’s credit card;
               f.       at any time in the period that begins on the date four years before the filing
of the original complaint in this case and ends at the date of trial.
Excluded from the Class are Macy’s, any entity in which Macy’s has a controlling interest or that
has a controlling interest in Macy’s, and Macy’s’s legal representatives, assignees, and
successors. Also excluded are the judge to whom this case is assigned and any member of the
judge’s immediate family.
       73.    Numerosity: The Class is so numerous that joinder of all its members is
impracticable. On information and belief, the Class has more than 100 members. Over twenty
complaints that have been posted online about the telephone number Macy’s uses, (877) 268-
6095, even though only a tiny fraction of people wrongly called by a given phone number post a
report about the call and phone number online. Moreover, many FTC Do-Not-Call complaints
have been lodged against this number.
       74.     Moreover, the disposition of the claims of the Class in a single action will provide
substantial benefits to all parties and the Court.
       75.    Commonality: There are many questions of law and fact common to Mr. Perrong
and members of the Class. Indeed, the very feature that makes Macy’s conduct so annoying—its
automated nature—makes this dispute amenable to classwide resolution. These common
questions of law and fact include, but are not limited to, the following:
               a.       What the corporate relationships between and among Defendants are;




                                            - 10 -
                                          Complaint
        Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 11 of 15




               b.       Whether Macy’s makes debt collection calls (or, instead, was
impersonated by a scammer);

               c.       Whether Macy’s uses a prerecorded voice in its collection calls (or,
instead, a live person who acts and sounds robotic);
               d.       Whether Macy’s’s desire to collect monies purportedly owed to it
constitutes an “emergency” within the meaning of the TCPA;
               e.       Whether, under FCC regulations, merely owning a phone number that was
once owned by someone who owed something to Macy’s constitutes express consent to be
robocalled by Macy’s;
               f.       Whether Macy’s violations were knowing or willful, in light of its
continued use of prerecorded collections robocalls despite its awareness, from previously filed
lawsuits, of its alleged TCPA violations; and
               g.       Whether, in light of the availability of databases offering number-
assignment updates every 15 minutes from over 250 sources, Macy’s should be enjoined from
placing prerecorded collections robocalls to people who have never borrowed from it.
       76.    Typicality: Plaintiff’s claims are typical of the claims of the Class. Plaintiff’s
claims and those of the Class arise out of the same course of conduct by Macy’s and are based on
the same legal and remedial theories.
       77.    Adequacy: Plaintiff will fairly and adequately protect the interests of the Class.
Plaintiff has retained competent and capable counsel with experience in TCPA class action
litigation. Plaintiff and his counsel are committed to prosecuting this action vigorously on behalf
of the Class and have the financial resources to do so. Neither Plaintiff nor his counsel have
interests contrary to or conflicting with those of the proposed Class.
       78.    Predominance: Macy’s has engaged in a common course of conduct toward
Plaintiff and members of the Class. The common issues arising from this conduct that affect
Plaintiff and members of the Class predominate over any individual issues. For example, the
TCPA’s statutory damages obviate the need for mini-trials on actual damages. Class resolution


                                           - 11 -
                                         Complaint
        Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 12 of 15




will not be impeded by individualized issues of consent, because the Class definition limits the
Class to only those people who never took out a Macy’s credit card in the first place. Nor, even if

Macy’s used different systems for some calls than for others, will the Court need to resolve
individualized issues of whether a given call was placed by an autodialer, because the Class
definition is limited to those people who received calls using an artificial or prerecorded voice.
Adjudication of these common issues in a single action has important and desirable advantages,
including judicial economy.
        79.    Superiority: A class action is the superior method for the fair and efficient
adjudication of this controversy. Classwide relief is essential to compel Macy’s to comply with
the TCPA. The interest of individual members of the Class in individually controlling the
prosecution of separate claims against Macy’s is small because the damages in an individual
action for violation of the TCPA are small. Management of these claims is likely to present
significantly fewer difficulties than are presented in many class actions because the calls at issue
are all automated and because the TCPA articulates bright-line standards for liability and
damages. Class treatment is superior to multiple individual suits or piecemeal litigation because
it conserves judicial resources, promotes consistency and efficiency of adjudication, provides a
forum for small claimants and deters illegal activities. There will be no significant difficulty in
the management of this case as a class action.
        80.    Injunctive and Declaratory Relief is Appropriate: Macy’s has acted on grounds
generally applicable to the Class, thereby making final injunctive relief and corresponding
declaratory relief with respect to the Class appropriate on a classwide basis. Moreover, Macy’s
has been the subject of a previous class action with a similar set of circumstances but continues
to violate the TCPA. Therefore, an injunction is necessary to ensure that Macy’s ceases once and
for all its debt-collection practice of illegal robocalling.




                                             - 12 -
                                           Complaint
        Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 13 of 15




                       VII.   FIRST CLAIM FOR RELIEF
     (Nonemergency, Nonconsensual, Prerecorded Robocalls, 47 U.S.C. § 227(b)(1)(A))
                       On Behalf of Mr. Perrong and the Class
                              Against All Defendants
       81.    Mr. Perrong realleges and incorporates by reference each and every allegation set
forth in the preceding paragraphs.
       82.    The foregoing acts and omissions of Macy’s and/or its affiliates or agents
constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1), by making nonemergency,
prerecorded calls to cellular telephone numbers and numbers for which the called party is
charged for the call without the prior express consent of the called party.
       83.    Mr. Perrong and Class members are entitled to an award of at least $500 in
damages for each such violation. 47 U.S.C. § 227(b)(3)(B).

       84.    Mr. Perrong, on behalf of himself and the Class, also seeks a permanent injunction
prohibiting Macy’s and its affiliates and agents from making non-emergency prerecorded
collections calls to people who have not borrowed any money from it.

                       VIII.  SECOND CLAIM FOR RELIEF
 (Knowing or Willful, Nonemergency, Nonconsensual, Prerecorded Robocalls, 47 U.S.C. §
                                     227(b)(1)(A))
                        On Behalf of Mr. Perrong and the Class
                               Against All Defendants
       85.    Mr. Perrong realleges and incorporates by reference each and every allegation set
forth in the preceding paragraphs.
       86.    The foregoing acts and omissions of Macy’s and/or its affiliates or agents
constitute multiple knowing or willful violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by
making nonemergency, prerecorded calls to cellular telephone numbers and numbers for which
the called party is charged for the call without the prior express consent of the called party.
       87.    In the span of its 30 prerecorded calls to Mr. Perrong, Macy’s didn’t once place a
call by a living, breathing person to see whether it was reaching the right person.
       88.    Macy’s automated calling system implied it had the capacity to understand what
the called party said, but even after he repeatedly and unambiguously stated that he was not the


                                           - 13 -
                                         Complaint
        Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 14 of 15




intended party for the call and would like Macy’s to please stop calling him, Macy’s kept up the
full-court press.

        89.    Commercial databases are publicly advertised offering number-assignment updates
every 15 minutes from over 250 sources.
        90.    Even if Mr. Perrong had borrowed money from Macy’s (which he did not), placing
three prerecorded collections calls to him every single day for 10 days straight, like clockwork at
the breakfast, lunch and dinner hour, would have been annoying, abusive, and harassing.
        91.    Thus, Mr. Perrong and Class members are entitled to an award of up to $1,500 in
damages for each such knowing or willful violation. 47 U.S.C. § 227(b)(3).

                                  IX.     PRAYER FOR RELIEF
        WHEREFORE, Mr. Perrong prays for judgment against Macy’s as follows:
        A.      Leave to amend this Complaint to conform to the evidence presented at trial;
        B.      Certification of the proposed Class;
        C.      A declaration that actions complained of herein by Macy’s violate the TCPA;
        D.      An order enjoining Macy’s and its affiliates and agents from engaging in the
unlawful conduct set forth herein;
        E.      An award to each Class member of $1,500 in statutory damages for each knowing
or willful violation of the TCPA;

        F.      An award to each Class member of $500 in statutory damages for each other
violation of the TCPA;
        G.      An award to Mr. Perrong and the Class of interest, costs and attorneys’ fees, as
allowed by law or equity; and
        H.      Such further relief as the Court deems necessary, just, and proper.

                                     X.    DEMAND FOR JURY
        Plaintiffs demand a trial by jury for all issues so triable.




                                            - 14 -
                                          Complaint
Case 2:18-cv-01382-GEKP Document 1 Filed 04/02/18 Page 15 of 15




RESPECTFULLY SUBMITTED AND DATED this 29th day of March, 2018.



                             By: /s/ Clayton S. Morrow
                             Clayton S. Morrow (PA I.D. 53521)
                             Email: csm@ConsumerLaw365.com
                             Morrow & Artim, PC
                             304 Ross Street, 7th Floor
                             Pittsburgh, PA 15219
                             Telephone: (412) 209-0656

                             Jon B. Fougner (CA State Bar No. 314097)
                             Email: Jon@FougnerLaw.com
                             600 California Street, 11th Fl.
                             San Francisco, CA 94108
                             Telephone: (434) 623-2843
                             Facsimile: (206) 338-0783
                             Pro Hac Vice Application Forthcoming

                             Attorneys for the Plaintiffs




                           - 15 -
                         Complaint
